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17                               UNITED STATES DISTRICT COURT

18                            NORTHERN DISTRICT OF CALIFORNIA

19                                        SAN JOSE DIVISION

20   MAXIMILIAN KLEIN, et al., on behalf of            Case No. 5:20-cv-08570-JD
     themselves and all others similarly situated,
21
                                                       [PROPOSED] ORDER REGARDING
                                   Plaintiffs,         DEFENDANT’S RESPONSE TO
22
            v.                                         PLAINTIFFS’ ADMINISTRATIVE
23                                                     MOTION TO CONSIDER WHETHER
     META PLATFORMS, INC., a Delaware                  ANOTHER PARTY’S MATERIAL
24   Corporation,                                      SHOULD BE SEALED
25                                 Defendant.          Judge: Hon. James Donato
26

27

28

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 1             THIS MATTER, having come before the Court on Plaintiffs’ Administrative Motion to

 2   Consider Whether Another Party’s Material Should be Sealed, and the Court having considered

 3   the Declaration of Jitin Khurana In Support of Defendant’s Response to Plaintiffs’ Administrative

 4   Motion to Consider Whether Another Party’s Material Should be Sealed, and other appropriate

 5   papers:

 6             The Court finds compelling reasons to support the filing under seal of the portions of

 7   documents described herein. Accordingly,

 8             IT IS ORDERED that the following portions of documents shall be filed under seal and

 9   sealed from the public record:

10       Information in FAC and Redline Sought to                              Reason for Sealing
                         Be Sealed1
11       Redacted information at Table of Contents,             Contains non-public information regarding
12       page ii2                                               specific terms of a contract with a business
                                                                counterparty which, if revealed to competitors
13                                                              or counterparties, could cause competitive
                                                                harm to Meta. (See Khurana Decl. ¶ 7).
14       Redacted information at ¶ 9                            Contains non-public information regarding
                                                                specific terms of a contract with a business
15                                                              counterparty which, if revealed to competitors
16                                                              or counterparties, could cause competitive
                                                                harm to Meta. (See Khurana Decl. ¶ 8).
17       Redacted information at ¶ 10                           Contains non-public information regarding
                                                                specific terms of a contract with a business
18                                                              counterparty which, if revealed to competitors
                                                                or counterparties, could cause competitive
19
                                                                harm to Meta. (See Khurana Decl. ¶ 7).
20       Redacted information at ¶ 179                          Contains non-public information regarding
                                                                contracts with business counterparties to
21                                                              whom Meta owes a duty of confidentiality.
         Redacted information at ¶ 180                          Contains non-public information regarding
22                                                              contracts with business counterparties to
23                                                              whom Meta owes a duty of confidentiality.
         Redacted information at ¶ 305                          Contains non-public information regarding
24                                                              contracts with business counterparties to
                                                                whom Meta owes a duty of confidentiality.
25       Redacted information at ¶ 307                          Contains non-public information regarding a
                                                                contract with a business counterparty to
26
                                                                whom Meta owes a duty of confidentiality.
27
     1
      The citations in the Redline are identical to those in the FAC.
28   2
      Meta has not provided line numbers for its proposed redactions because the FAC is formatted such that the text
     does not always align with the line numbers.

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 1    Redacted information at ¶ 309                Contains non-public information regarding
                                                   contracts with business counterparties to
 2                                                 whom Meta owes a duty of confidentiality.
 3    Redacted information at ¶ 310                Contains non-public information regarding
                                                   contracts with business counterparties to
 4                                                 whom Meta owes a duty of confidentiality.
      Redacted information at ¶ 313                Contains non-public information regarding
 5                                                 contracts with business counterparties to
                                                   whom Meta owes a duty of confidentiality.
 6
      Redacted information at page 100, heading    Contains non-public information regarding
 7    C.1                                          specific terms of a contract with a business
                                                   counterparty which, if revealed to competitors
 8                                                 or counterparties, could cause competitive
                                                   harm to Meta. (See Khurana Decl. ¶ 7).
 9    Redacted information at ¶ 436                Contains non-public information regarding
                                                   specific terms of a contract with a business
10
                                                   counterparty which, if revealed to competitors
11                                                 or counterparties, could cause competitive
                                                   harm to Meta. (See Khurana Decl. ¶ 7).
12    Redacted information at ¶ 437                Contains non-public information regarding
                                                   specific terms of a contract with a business
13                                                 counterparty which, if revealed to competitors
14                                                 or counterparties, could cause competitive
                                                   harm to Meta. (See Khurana Decl. ¶ 7).
15    Redacted information at ¶ 438                Contains non-public information regarding
                                                   specific terms of a contract with a business
16                                                 counterparty which, if revealed to competitors
                                                   or counterparties, could cause competitive
17                                                 harm to Meta. (See Khurana Decl. ¶ 7).
18    Redacted information at ¶ 440                Contains non-public information regarding
                                                   advertising sales to individual advertisers
19                                                 which, if revealed to competitors or
                                                   counterparties, could cause competitive harm
20                                                 to Meta. (See Khurana Decl. ¶ 9).
      Redacted information at ¶ 441                Contains non-public information regarding
21
                                                   negotiation strategy and which, if revealed to
22                                                 competitors or counterparties, could cause
                                                   competitive harm to Meta. (See Khurana
23                                                 Decl. ¶ 6).
      Redacted information at ¶ 442                Contains non-public information regarding
24                                                 negotiation strategy and which, if revealed to
25                                                 competitors or counterparties, could cause
                                                   competitive harm to Meta. (See Khurana
26                                                 Decl. ¶ 6).
      Redacted information at ¶ 443                Contains non-public information regarding
27                                                 negotiation strategy and which, if revealed to
                                                   competitors or counterparties, could cause
28

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 1                                            competitive harm to Meta. (See Khurana
                                              Decl. ¶ 6).
 2    Redacted information at ¶ 444           Contains non-public information regarding
 3                                            negotiation strategy and which, if revealed to
                                              competitors or counterparties, could cause
 4                                            competitive harm to Meta. (See Khurana
                                              Decl. ¶ 6).
 5    Redacted information at ¶ 445           Contains non-public information regarding
                                              negotiation strategy and which, if revealed to
 6                                            competitors or counterparties, could cause
 7                                            competitive harm to Meta. (See Khurana
                                              Decl. ¶ 6).
 8    Redacted information at ¶ 446           Contains non-public information regarding
                                              negotiation strategy and which, if revealed to
 9                                            competitors or counterparties, could cause
                                              competitive harm to Meta. (See Khurana
10
                                              Decl. ¶ 6).
11    Redacted information at ¶ 447           Contains non-public information regarding
                                              negotiation strategy and which, if revealed to
12                                            competitors or counterparties, could cause
                                              competitive harm to Meta. (See Khurana
13                                            Decl. ¶ 6).
14    Redacted information at ¶ 448           Contains non-public information regarding
                                              negotiation strategy and which, if revealed to
15                                            competitors or counterparties, could cause
                                              competitive harm to Meta. (See Khurana
16                                            Decl. ¶ 6).
      Redacted information at ¶ 449           Contains non-public information regarding
17                                            negotiation strategy and which, if revealed to
18                                            competitors or counterparties, could cause
                                              competitive harm to Meta. (See Khurana
19                                            Decl. ¶ 6).
      Redacted information at ¶ 450           Contains non-public information regarding
20                                            negotiation strategy and which, if revealed to
                                              competitors or counterparties, could cause
21
                                              competitive harm to Meta. (See Khurana
22                                            Decl. ¶ 6).
      Redacted information at ¶ 451           Contains non-public information regarding
23                                            negotiation strategy and which, if revealed to
                                              competitors or counterparties, could cause
24                                            competitive harm to Meta. (See Khurana
25                                            Decl. ¶ 6).
      Redacted information at ¶ 452           Contains non-public information regarding
26                                            negotiation strategy and which, if revealed to
                                              competitors or counterparties, could cause
27                                            competitive harm to Meta. (See Khurana
                                              Decl. ¶ 6).
28

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 1    Redacted information at ¶ 454           Contains non-public information regarding
                                              negotiation strategy and which, if revealed to
 2                                            competitors or counterparties, could cause
                                              competitive harm to Meta. (See Khurana
 3
                                              Decl. ¶ 6).
 4    Redacted information at ¶ 455           Contains non-public information regarding
                                              negotiation strategy and which, if revealed to
 5                                            competitors or counterparties, could cause
                                              competitive harm to Meta. (See Khurana
 6                                            Decl. ¶ 6).
 7    Redacted information at ¶ 456           Contains non-public information regarding
                                              advertising sales to individual advertisers
 8                                            which, if revealed to competitors or
                                              counterparties, could cause competitive harm
 9                                            to Meta. (See Khurana Decl. ¶ 9).
      Redacted information at ¶ 458           Contains non-public information regarding
10
                                              negotiation strategy and which, if revealed to
11                                            competitors or counterparties, could cause
                                              competitive harm to Meta. (See Khurana
12                                            Decl. ¶ 6).
      Redacted information at ¶ 459           Contains non-public information regarding
13                                            negotiation strategy and which, if revealed to
14                                            competitors or counterparties, could cause
                                              competitive harm to Meta. (See Khurana
15                                            Decl. ¶ 6).
      Redacted information at ¶ 460           Contains non-public information regarding
16                                            negotiation strategy and which, if revealed to
                                              competitors or counterparties, could cause
17                                            competitive harm to Meta. (See Khurana
18                                            Decl. ¶ 6).
      Redacted information at ¶ 461           Contains non-public information regarding
19                                            negotiation strategy and which, if revealed to
                                              competitors or counterparties, could cause
20                                            competitive harm to Meta. (See Khurana
                                              Decl. ¶ 6).
21
      Redacted information at ¶ 463           Contains non-public information regarding
22                                            negotiation strategy and which, if revealed to
                                              competitors or counterparties, could cause
23                                            competitive harm to Meta. (See Khurana
                                              Decl. ¶ 6).
24
                                              Contains non-public information regarding
25
                                              advertising sales to individual advertisers
26                                            which, if revealed to competitors or
                                              counterparties, could cause competitive harm
27                                            to Meta. (See Khurana Decl. ¶ 9).
      Redacted information at ¶ 464           Contains non-public information regarding
28                                            specific terms of a contract with a business

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 1                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
 2                                            harm to Meta. (See Khurana Decl. ¶ 7).
 3    Redacted information at ¶ 465           Contains non-public information regarding
                                              specific terms of a contract with a business
 4                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
 5                                            harm to Meta. (See Khurana Decl. ¶ 7).
      Redacted information at ¶ 466           Contains non-public information regarding
 6                                            specific terms of a contract with a business
 7                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
 8                                            harm to Meta. (See Khurana Decl. ¶ 7).
      Redacted information at ¶ 467           Contains non-public information regarding
 9                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
10
                                              or counterparties, could cause competitive
11                                            harm to Meta. (See Khurana Decl. ¶ 7).
      Redacted information at ¶ 468           Contains non-public information regarding
12                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
13                                            or counterparties, could cause competitive
14                                            harm to Meta. (See Khurana Decl. ¶ 7).
      Redacted information at ¶ 469           Contains non-public information regarding
15                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
16                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 7).
17    Redacted information at ¶ 470           Contains non-public information regarding
18                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
19                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 7).
20    Redacted information at ¶ 471           Contains non-public information regarding
                                              specific terms of a contract with a business
21
                                              counterparty which, if revealed to competitors
22                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 7).
23    Redacted information at ¶ 472           Contains non-public information regarding
                                              specific terms of a contract with a business
24                                            counterparty which, if revealed to competitors
25                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 7).
26    Redacted information at ¶ 485           Contains non-public information regarding
                                              advertising sales to individual advertisers
27                                            which, if revealed to competitors or
                                              counterparties, could cause competitive harm
28                                            to Meta. (See Khurana Decl. ¶ 9).

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 1    Redacted information at ¶ 486           Contains non-public information regarding
                                              advertising sales to individual advertisers
 2                                            which, if revealed to competitors or
                                              counterparties, could cause competitive harm
 3
                                              to Meta. (See Khurana Decl. ¶ 9).
 4    Redacted information at ¶ 500           Contains non-public information regarding
                                              specific terms of a contract with a business
 5                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
 6                                            harm to Meta. (See Khurana Decl. ¶ 8).
 7    Redacted information at ¶ 501           Contains non-public information regarding
                                              specific terms of a contract with a business
 8                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
 9                                            harm to Meta. (See Khurana Decl. ¶ 8).
      Redacted information at ¶ 502           Contains non-public information regarding
10
                                              specific terms of a contract with a business
11                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
12                                            harm to Meta. (See Khurana Decl. ¶ 8).
      Redacted information at ¶ 503           Contains non-public information regarding
13                                            advertising sales to individual advertisers
14                                            which, if revealed to competitors or
                                              counterparties, could cause competitive harm
15                                            to Meta. (See Khurana Decl. ¶ 9).
      Redacted information at ¶ 509           Contains non-public information regarding
16                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
17                                            or counterparties, could cause competitive
18                                            harm to Meta. (See Khurana Decl. ¶ 8).
      Redacted information at ¶ 510           Contains non-public information regarding
19                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
20                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 8).
21
      Redacted information at ¶ 511           Contains non-public information regarding
22                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
23                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 8).
24    Redacted information at ¶ 512           Contains non-public information regarding
25                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
26                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 8).
27    Redacted information at ¶ 513           Contains non-public information regarding
                                              specific terms of a contract with a business
28                                            counterparty which, if revealed to competitors

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 1                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 8).
 2    Redacted information at ¶ 514           Contains non-public information regarding
 3                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
 4                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 8).
 5    Redacted information at ¶ 515           Contains non-public information regarding
                                              specific terms of a contract with a business
 6                                            counterparty which, if revealed to competitors
 7                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 8).
 8    Redacted information at ¶ 516           Contains non-public information regarding
                                              specific terms of a contract with a business
 9                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
10
                                              harm to Meta. (See Khurana Decl. ¶ 8).
11    Redacted information at ¶ 517           Contains non-public information regarding
                                              specific terms of a contract with a business
12                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
13                                            harm to Meta. (See Khurana Decl. ¶ 8).
14    Redacted information at ¶ 518           Contains non-public information regarding
                                              specific terms of a contract with a business
15                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
16                                            harm to Meta. (See Khurana Decl. ¶ 8).
      Redacted information at ¶ 519           Contains non-public information regarding
17                                            specific terms of a contract with a business
18                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
19                                            harm to Meta. (See Khurana Decl. ¶ 8).
      Redacted information at ¶ 520           Contains non-public information regarding
20                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
21
                                              or counterparties, could cause competitive
22                                            harm to Meta. (See Khurana Decl. ¶ 8).
      Redacted information at ¶ 521           Contains non-public information regarding
23                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
24                                            or counterparties, could cause competitive
25                                            harm to Meta. (See Khurana Decl. ¶ 8).
      Redacted information at ¶ 522           Contains non-public information regarding
26                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
27                                            or counterparties, could cause competitive
                                              harm to Meta. (See Khurana Decl. ¶ 8).
28

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 1    Redacted information at ¶ 523           Contains non-public information regarding
                                              specific terms of a contract with a business
 2                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
 3
                                              harm to Meta. (See Khurana Decl. ¶ 8).
 4    Redacted information at ¶ 524           Contains non-public information regarding
                                              specific terms of a contract with a business
 5                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
 6                                            harm to Meta. (See Khurana Decl. ¶ 8).
 7    Redacted information at ¶ 530           Contains non-public information regarding
                                              specific terms of a contract with a business
 8                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
 9                                            harm to Meta. (See Khurana Decl. ¶ 8).
      Redacted information at ¶ 531           Contains non-public information regarding
10
                                              specific terms of a contract with a business
11                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
12                                            harm to Meta. (See Khurana Decl. ¶ 8).
      Redacted information at ¶ 534           Contains non-public information regarding
13                                            specific terms of a contract with a business
14                                            counterparty which, if revealed to competitors
                                              or counterparties, could cause competitive
15                                            harm to Meta. (See Khurana Decl. ¶ 8).
      Redacted information at ¶ 535           Contains non-public information regarding
16                                            specific terms of a contract with a business
                                              counterparty which, if revealed to competitors
17                                            or counterparties, could cause competitive
18                                            harm to Meta. (See Khurana Decl. ¶ 8).

19
     IT IS SO ORDERED.
20

21
      Dated: March _________, 2022              The Honorable James Donato
22                                              United States District Court Judge
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26

27

28

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